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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)
CENTER FOR BIOLOGICAL DIVERSITY,  )
et al., )
)
Plaintiffs, )
)
v. ) Case No. 17-cv-2504-RCL
)
RYAN ZINKE, in his official capacity as )
Secretary of the United States Department of )
Interior, ef al., )
)
Defendants, )
)
and )
)
SAFARI CLUB INTERNATIONAL, et al., )
)
Defendant-Intervenors )
)
MEMORANDUM OPINION

 

In Fall 2017, the U.S. Fish and Wildlife Service (the “Service’’) issued two new findings
with respect to elephants and lions in Zimbabwe. By determining that permitted hunting of these
animals will enhance the survival of each species, the country-wide findings paved the way for
U.S. importation of sport-hunted trophies of these animals. After the D.C. Circuit held in
December 2017 that two earlier country-wide enhancement findings by the Service were
legislative tules requiring public notice and comment pursuant to the Administrative Procedure
Act (“APA”), see Safari Club Int’l v. Zinke, 878 F.3d 316, 331-35 (D.C. Cir. 2017) (‘Safari Club
IT’), the Service withdrew the 2017 Zimbabwe elephant and lion findings, along with other prior
country-wide enhancement and non-detriment findings. Moving forward, the Service announced

that it would instead make these findings on a case-by-case basis upon application to import a
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sport-hunted trophy.

Organizational plaintiffs Center for Biological Diversity (the “Center”), Humane Society
International (“HIS”), Humane Society of the United States (‘HSUS”), and Born Free USA, along
with individual plaintiff lan Michler (collectively, “plaintiffs’) bring an eight-count complaint
challenging the actions of the government. Second Am. Compl., ECF No. 41. Upon motion,
Safari Club International and the National Rifle Association of America were permitted to
intervene as defendants (the “intervenor-defendants”). Order, ECF No. 24. In claims one through
six, plaintiffs challenge the now-withdrawn 2017 Zimbabwe elephant and lion findings. Second
Am. Compl. 4] 171-201. In claim seven, plaintiffs allege the Service violated the APA by
withdrawing the various enhancement and non-detriment findings without soliciting public notice
and comment. /d. 4] 202-07. And in claim eight, plaintiffs claim the Service violated the APA by
changing from country-wide findings to case-by-case determinations without soliciting public
notice and comment. /d. 47] 208-11

Now, both the government and the intervenor-defendants move to dismiss the complaint
in its entirety. See Federal Defs.’ Mot. Dismiss, ECF No. 44; Intervenor-Defendants’ Mot.
Dismiss, ECF No. 42. For the reasons set forth herein, those motions will be GRANTED.

i, BACKGROUND

A. The Convention on International Trade in Endangered Species of Wild Fauna
and Flora and the Endangered Species Act

Importation into the United States of threatened species such as African elephants and lions
is governed by international convention and U.S. law.

The Convention on International Trade in Endangered Species of Wild Fauna and Flora
(“CITES”), Mar. 3, 1973, 27 U.S.T. 1087, is a multilateral treaty to which both the United States

and Zimbabwe are parties. See 16 U.S.C. § 1538(c)(1) (incorporating CITES into U.S. domestic
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law through the Endangered Species Act). CITES regulates the international trade of protected
plants and wildlife by establishing requirements for importing and exporting covered species
categorized into three appendices based on the level of protection each requires. See id. §§ 1537a~_
1539. Signatories to CITES, including the United States and Zimbabwe, agree that they “shall not
allow trade in specimens of species included in Appendices I, II and II] except in accordance with
the provisions of” the treaty. CITES, art. 1.4.

Elephants in Zimbabwe were listed on Appendix I until 1997 and now are listed on
Appendix II. Changes in List of Species in Appendices to the [CITES], 62 Fed. Reg. 44,627,
44,628-29 (Aug. 22, 1997). African lions in Zimbabwe are also listed on Appendix II. While
Appendix I lists species “threatened with extinction which are or may be affected by trade,”
CITES, art. I[(1), Appendix IE includes species that are not necessarily currently threatened but
that may become threatened with extinction unless trade of specimens of such species is regulated.
id. art. 11(2). Under CITES, a species listed on Appendix II may be traded ifthe exporting countries
issue export permits. /d. art. TV. In issuing permits, the exporting country must make certain
findings, including that the specimen was legally acquired, and that trade of the specimen will not
be detrimental to the survival of the species (a non-detriment finding). Jd. art. [V.2(a)-(b).

“It is undisputed that the proscriptions in [CITES] are a floor, not a ceiling, for protection
of Appendix II species.” Safari Club Int'l v. Zinke, 878 F.3d 316, 321 (D.C. Cir. 2017). In fact,
the treaty makes clear that it “in no way affect[s] the right of Parties to adopt . . . stricter domestic
measures regarding the conditions for trade, taking possession or transport of specimens of species
ineluded in Appendices I, I, and I, or the complete prohibition thereof” CITES, art. XTV(1).

To that end, Congress passed the Endangered Species Act (“ESA”) to provide for the

conservation of “endangered” and “threatened” species. 16 U.S.C. § 1531(b). Described as “the
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most comprehensive legislation for the preservation of endangered species ever enacted by any
nation,” Tennessee Valley Authority v. Hill, 437 U.S. 153, 180 (1978), the ESA not only
implements CITES into U.S law but also provides federal protection to species listed as
endangered or threatened pursuant to its provisions. See 16 U.S.C. §§ 1533(d), 1538(a).
Furthermore, the listing of a species as endangered or threatened does not depend on whether or
how it is categorized under CITES. See id. § 1533(a)(1)(A).

While the ESA generally forbids the importation of endangered species into the United
States, id. § 1538(a)(1)(A); 50 C.F.R. § 17.21(b), the Act empowers the Service to issue regulations
pertaining to threatened species “deem[ed] necessary and advisable to provide for the conservation
of such species.” 16 U.S.C. § 1533(d). Pursuant to this authority, the Service has issued a
regulation that extends the ESA’s prohibitions on endangered species to all threatened species
unless the Service has issued a special rule to govern a particular species. 50 C.F.R. §§ 17.31(a),
(c); see also Sweet Home Chapter of Cmtys. for a Great Or. v. Babbitt, 1 F.3d 1, 5 (D.C. Cir.
1993).

Both elephants and lions in Zimbabwe are listed as threatened species under the ESA, 50
C.F.R. § 17.11(h), and both are the subject of special species-specific rules for importation. Id. §§
17.40(e) (elephants), (r) (lions).

Under the species-specific rule, sport-hunted elephant trophies may only be imported into
the United States if, among other things, a “determination is made that the killing of the trophy
animal will enhance the survival of the species and the trophy is accompanied by a threatened
species permit issued under § 17.32.” /d. § 17.40(e)(6)G)(B). The required enhancement finding
is “communicated through the threatened species permitting process.” 80 Fed. Reg. 45,154-01,

45, 165.
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Like for African elephants, the species-specific rule for African lions requires a hunter to
apply for and receive a threatened species import permit before importing a sport-hunted African
lion trophy from countries like Zimbabwe. 80 Fed. Reg. 80,000, 80,043-44; 50 C.F.R. §
17.40(@)\(2)-G). Although the rule does not explicitly mention enhancement findings, the
enhancement of propagation or survival is one of the purposes for which a threatened species
import permit may be issued. See 50 C.F.R. § 17.32 (listing enhancement along with scientific
purposes, economic hardship, zoological exhibition, educational purposes, and incidental takings
as the acceptable purposes for issuing a permit). Because of the nature of sport-hunted trophy
importation, a permit for lions may only be issued if the Service determines that the killing and
importation enhances the survival of the species. “The Service has the discretion to make the
required findings on sport-hunted trophy imports of [African lions] on a country-wide basis,
although individual import permits [are] evaluated and issued or denied for each applicant.” 80
Fed. Reg. at 80,046.

B. Factual and Procedural Background

In 2014, the Service suspended importing of sport-hunted African elephant trophies from
Zimbabwe, as the Service was “unable to determine that the killing of the animal .. . would
enhance the survival of the species in the wild.” 79 Fed. Reg. 44459-01. In 2015, the Service
reaffirmed this decision, extending its effect indefinitely. 80 Fed. Reg. 42524-03. The intervenor-
defendants challenged the 2014 and 2015 elephant findings in a case before this Court. Safari
Club Int'l v. Jewell, Case No. 1:14-cv-670-RCL. Although this Court upheld the 2014 and 2015
elephant findings, see Safari Club Int'l v. Jewell, F. Supp. 3d 48, 81 (D.D.C. 2016), the D.C.
Circuit held that the findings were legislative rules that the Service failed to subject to public notice

and comment under the Administrative Procedure Act. Safari Club H, 878 F.3d at 333. It therefore
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ordered this Court to remand the case to the Service to initiate proper rulemaking to address
enhancement findings for the relevant time periods. /d. at 336.

But prior to the D.C. Circuit’s opinion, the Service had issued the new enhancement
findings at issue in this case. On October 11, 2017, the Service announced that made positive
enhancement findings and would allow the import of African lion trophies hunted in Zimbabwe in
calendar years 2016, 2017, and 2018. Second Am. Compl. § 144. And on November 16, 2017,
the Service similarly concluded that hunting elephants in Zimbabwe enhances the survival of the
species, opening the door for the importation of elephant trophies hunted in 2016, 2017, and 2018.
See 82 Fed. Reg. 54,405.

On November 20, 2017, the Center filed this suit, asserting these new findings were
arbitrary and capricious. See generally Compl, ECF No. 1. The D.C. Circuit issued its Safari
Club H opinion regarding the 2014 and 2015 elephant findings in December 2017, and not long
after, the Center amended the complaint to add plaintiffs HSI, HSUS, Born Free USA, and Ian
Michler, and to add claims that the 2017 findings also failed to comply with the APA public notice
and comment requirements. See generally Am. Compl, ECF No. 20.

On March 1, 2018, the Principal Deputy Director of the Service signed a memorandum
(the “March Memo”) announcing the withdrawal of the 2014 and 2015 Zimbabwe elephant
findings in response to Safari Club If. Second Am. Compl. { 168; Intervenor-Defendants’ Mot.

Dismiss Ex. 1, ECF No. 42-1.! “Consistent with this approach,” the Service also withdrew the

 

' The Court will consider the March Memo in conjunction with this mation. Defendants move to dismiss the case
both for lack of jurisdiction under Rule 12(b)(1) and for failure to state a claim under Rule 12(b)(6). When
considering a motion to dismiss for lack of jurisdiction, the court ‘‘is not limited to the allegations of the complaint.”
Hohri vy. United States, 782 F.2d 227, 241 (D.C. Cir. 1986), vacated on other grounds, 482 U.S. 64 (1987). For
12(b)(6) motions, “where a document is referred to in the complaint and is central to plaintiffs claim, such a
document attached to the motion papers may be considered without converting the motion to one for summary
judgment.” Vanover v. Hantmau, 77 F.Supp.2d 91, 98 (D.D.C.1999) (citing Greenberg v. The Life Insurance
Company of ¥a., 177 F.3d 507, 514 (6th Cir.1999)); see also Cortec Industries, Inc. v. Sum Holding L.P., 949 F.2d
42, 48 (2d Cir.1991) (holding that district court may consider stock purchase agreement, offering memorandum, and

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2017 Zimbabwe hon and elephant enhancement findings challenged in this case, along with
various country-wide enhancement and non-detriment findings. Intervenor-Defendants’ Mot.
Dismiss Ex. 1; Second Am. Compl. § 168. Moreover, the March Memo announced that “[aJt this
time, when the Service processes [permit application for the importation of sport-hunted trophies
of these species], the Service intends to do so on an individual basis, including making ESA
enhancement determinations, and CITES non-detriment determinations when required, for each
application.” Intervenor-Defendants’ Mot. Dismiss Ex. 1. In other words, the Service announced
an intention “to grant or deny permits to import a sport-hunted trophy on a case-by-case basis.”
id. However, the March Memo makes clear that the Service intends to use the information cited
in the 2017 Zimbabwe lion and elephant findings and other withdrawn findings “as appropriate, in
addition to the information it receives and has available when it receives each application, to
evaluate individual permit applications.” Jd.; Second Am. Compl. 169. The March Memo was
not published in the Federal Register and the Service did not solicit public comments on the Memo.
Second Am. Compl. § 170.

In response to the March Memo, plaintiffs amended the complaint to add two counts: a
claim challenging the Service’s failure to employ notice-and-comment rulemaking to withdraw
the 2017 lion and elephant findings and a claim that the Service violated the APA by changing to
a case-by-case approach for making enhancement and non-detriment findings without soliciting
public notice and comment. /d. ff] 202-211. Both the government and the defendant-intervenors
move to dismiss the Second Amended Complaint in its entirety. The defendants argue that

plaintiffs’ claims challenging the 2017 lion and elephant findings—claims one through six—

 

warrant, on a motion to dismiss, even when these materials were not attached to complaint). Here, the March
Memo is properly considered because it is central to the plaintiffs’ claims, and the complaint even quotes directly
from it. See Second Am. Compl. § 169, ECF No. 41.
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should be dismissed under Rule 12(b)(1) for lack of subject matter jurisdiction, while the new
claims—claims six and seven—should be dismissed either under Rule 12(b}(1) for lack of subject
matter jurisdiction or under Rule 12(b)(6) for failure to state a claim.
IL. LEGAL STANDARD

In evaluating a motion to dismiss under either Rule 12(b)(1) or 12(b)(6), the Court must
“treat the complaint's factual allegations as true... and must grant plaintiff ‘the benefit of all
inferences that can be derived from the facts alleged.’” Sparrow v. United Air Lines, Inc., 216
F.3d 1111, 1113 (D.C. Cir. 2000) (quoting Schuler v. United States, 617 F.2d 605, 608 (D.C. Cir.
1979) (citations omitted)}; see also Am. Nat'l Ins. Co. v. FDIC, 642 F.3d 1137, 1139 (D.C, Cir.
2011). Nevertheless, the Court need not accept inferences drawn by the plaintiff if those inferences
are unsupported by facts alleged in the complaint, nor must the Court accept a plaintiff's legal
conclusions. Browning v. Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002).

A. Subject Matter Jurisdiction

Under Rule 12(b)(1), the plaintiff bears the burden of establishing jurisdiction by a
preponderance of the evidence. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992);
Shekoyan y. Sibley Int'l Corp., 217 F. Supp. 2d 59, 63 (D.D.C.2002). Federal courts are courts of
limited jurisdiction and the law presumes that “a cause lies outside this limited jurisdiction.”
Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994); see also Gen. Motors Corp.
v, EPA, 363 F.3d 442, 448 (D.C.Cir.2004) (“As a court of limited jurisdiction, we begin, and end,
with an examination of our jurisdiction.”). “[B]ecause subject-matter jurisdiction is ‘an Art[icle]
Iil as well as a statutory requirement .. . no action of the parties can confer subject-matter

jurisdiction upon a federal court.’” Akinseye v. District of Columbia, 339 F.3d 970, 971 (D.C. Cir.
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2003) (quoting Ins. Corp. of Ir., Lid. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 702
(1982).

When considering a motion to dismiss for lack of jurisdiction, unlike when deciding a
motion to dismiss under Rule 12(b)(6), the court “is not limited to the allegations of the complaint.”
Hohri, 782 F.2d at 241. Rather, “a court may consider such materials outside the pleadings as it
deems appropriate to resolve the question [of] whether it has jurisdiction to hear the case.” Scolaro
vy. D.C. Ba. of Elections & Ethics, 104 F.Supp.2d 18, 22 (D.D.C. 2000) (citing Herbert v. Natl
Acad. of Scis., 974 F.2d 192, 197 (D.C. Cir. 1992)); see also Jerome Stevens Pharm., Ine. v. FDA,
402 F.3d 1249, 1253 (D.C. Cir. 2005).

B. Failure to State a Claim

“To survive a [Rule 12(b)(6)] motion to dismiss, a complaint must contain sufficient factual
matter, accepted as true, to ‘state a claim to relief that is plausible on its face.*” Ashcroft v. Igbal,
556 U.S. 662, 678 (2009) (quoting Bell Ati. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim
is facially plausible when the pleaded factual content “allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged.” /d. at 678. “The plausibility
standard is not akin to a ‘probability requirement,” but it asks for more than a sheer possibility that
a defendant has acted unlawfully.” /d. (quoting Twombly, 550 U.S. at 566). A pleading must offer
more than “‘labels and conclusions’” or a “‘formulaic recitation of the elements of a cause of
action,’” id. (quoting Twombly, 550 U.S. at 555), and “[t]hreadbare recitals of the elements of a
cause of action, supported by mere conclusory statements, do not suffice.” Jd.

When considering a motion to dismiss under Rule 12(b)(6), the complaint is construed
liberally in the plaintiff's favor, and the Court should grant the plaintiff “the benefit ofall inferences

that can be derived from the facts alleged.” Kowal v. MCI Comme'ns Corp., 16 F.3d 1271, 1276
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(D.C. Cir. 1994}. Nevertheless, the Court need not accept inferences drawn by the plaintiff if those
inferences are unsupported by facts alleged in the complaint, nor must the Court accept plaintiff's
legal conclusions. See id.; see also Browning v. Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002).

C. APA Notice-and-Comment Rulemaking

Under the APA, when an agency proposes to promulgate a rule, it must follow the
procedures set out in 5 U.S.C. § 553. Among other things, the statute requires the agency to publish
a notice “of proposed rule making” in the Federal Register. fd. § 553(b). Then, it must “give
interested persons an opportunity to participate in the rule making through submission” of
comments, which the agency must consider. Jd. § 553(d).

Ii. ANALYSIS
A. Claims one through six are moot.

In claims one through six, plaintiffs make specific challenges to the 2017 elephant and lion
findings, claiming they were issued arbitrarily and capriciously or otherwise not in accordance
with law and also that the Service failed to follow proper rulemaking procedures in issuing them.
Second Am. Compl. fj 171-201. Plaintiffs ask this Court to declare that the 2017 findings violate
the APA, to declare that the Service failed to undertake the required notice-and-comment
rulemaking process, and to set aside and remand the challenged enhancement findings. /d. at 43.
But the 2017 findings were withdrawn by the March Memo.

Under Article III, the “judicial power’ extends only to “Cases” and “Controversies.” U.S.
Const. art. IH, s 2. “To qualify as a case fit for federal-court adjudication, an actual controversy
must be extant at all stages of review, not merely at the time the complaint is filed.” Arizonans for
Official English vy. Arizona, 520 U.S. 43, 67 (1997) (citations and internal quotation marks .

omitted). And “no justiciable controversy is presented .. . when the parties are asking for an

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advisory opinion, [or] when the question sought to be adjudicated has been mooted by subsequent
developments.” Flast v. Cohen, 392 U.S. 83, 95 (1968). A “case is moot when the issues presented
are no longer ‘live’ or the parties lack a legally cognizable interest in the outcome.” Powell v.
McCormack, 395 U.S. 486, 496 (1969). “Corrective action by an agency is one type of subsequent
development that can moot a previously justiciable issue.” Naf. Res. Def’ Council, Inc. v. U.S.
Nuclear Regulatory Comm'n, 680 F.2d 810, 814 (D.C. Cir. 1982).

Here, the challenged findings are no longer in effect. The Court, therefore, can provide the
plaintiffs with no meaningful relief. The fact that they seek declaratory relief—in addition to
injunctive relief—--does not change the analysis. “The Article III case or controversy requirement
is as applicable to declaratory judgments as it is to other forms of relief.” Conyers v. Reagan, 765
F.2d 1124, 1127 (D.C. Cir. 1985).

The Court cannot set aside findings that have already been withdrawn. And to declare that
the withdrawn findings violate the APA for the purpose of instructing the Service how to approach
future findings amounts to an advisory opinion. Federal courts “are not in the business of
pronouncing that past actions which have no demonstrable continuing effect were right or wrong.”
Spencer v. Kemma, 523 U.S. 1, 18 (1998).

Plaintiffs argue that claims one through six are not moot because the Service stated it will
use the information from the findings as appropriate to evaluate individual permit applications.
See Intervenor-Defendants’ Mot. Dismiss Ex. 1. In fact, plaintiffs submit examples of individual
permit enhancement findings that it claims “are cookie cutter copies of the 2017 country-wide
Zimbabwe lion trophy enhancement finding Plaintiffs challenged except for their opening
paragraph and conclusions.” Pls.’ Notice Suppl. Authority 2, ECF No. 48. Therefore, in plaintiffs’

view, the 2017 findings have continuing effect.

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The Court is not persuaded. Whether or not the Service relies on the same information to
make its individual enhancement determinations does not give the withdrawn country-wide
findings any operational effect in and of themtselves. Instead, the proper vehicle to challenge the
Service’s methods in coming to an enhancement finding is to challenge the new enhancement
determinations themselves—the findings that actually affect the ability to import sport-hunted
trophies. In other words, these new enhancement findings do not create a live controversy over
old ones.

Furthermore, plaintiffs cannot rely on an exception to the mootness requirement under
either the doctrine of “actions capable of repetition yet evading review” or because of the
defendant’s voluntary cessation of offending conduct.

The capable-of-repetition-yet-evading-review exception applies where a_ party
demonstrates that “(1) the challenged action is in its duration too short to be fully litigated prior to
its cessation or expiration, and (2) there [is] a reasonable expectation that the same complaining
party would be subjected to the same action.” - Clarke v. United States, 915 F.2d 699, 704 (D.C.
Cir. 1990). Here, plaintiffs point to the Service’s intent to continue to rely on the 2017 factual
findings and state that “denying [them] their day in court now because they could allegedly raise
the same issues in permit challenges down the road would amount to evading review.” Pls.” Opp.
Mot. Dismiss 38, ECF No. 45.

This argument misses the mark. Plaintiffs do not—and could not—argue that were the
Service to issue country-wide enhancement findings like those challenged in this case that they
would evade review. After all, the D.C. Circuit’s did just that in Safari Club I for the 2014 and
2015 enhancement findings. And plaintiff cannot save their claims from the mootness doctrine on

the basis that future litigation challenging not country-wide findings but instead the issuance of a
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specific import permit might evade review. If the concern is that those individual adjudication
decisions are too short in duration to be fully litigated, the capable-of-repetition-yet-evading-
review exception can be applied in that context.

The voluntary cessation doctrine is equally inapplicable. The idea behind the exception is
that a “defendant’s voluntary cessation of a challenged practice does not deprive a federal court of
its power to determine the legality of the practice.” Friends of Earth v. Laidlaw, 528 U.S, 167,
189 (2000) (internal citations omitted). Here, the 2017 findings suffered from the same procedural
deficiencies as the 2014 and 2015 findings from Safari Club H: The Service failed to employ
notice-and-comment rulemaking in enacting what amounted to a legislative rule. See Safari Club
H, 878 F.3d at 333. So, the withdrawal of the 2017 findings were not a voluntary cessation but
rather a corrective action by the Service. And “[c]orrective action by an agency is one type of
subsequent development that can moot a previously justiciable issue.” Nat. Res. Def. Council, 680
F.2d at 814. This is “more accurately characterized as the provision of appropriate relief to
petitioner than as the ‘cessation of illegal conduct.”” /d. at 814 n.8.

Because claims one through six challenge the withdrawn 2017 country-wide elephant and
lion findings, there is no live controversy. Moreover, no mootness exception applies. The Court
lacks jurisdiction to here these claims, and they must be DISMISSED.

B. Plaintiffs lack standing to challenge the withdrawal of positive enhancement

findings and fail to state a claim challenging the rescission of negative findings
prohibiting trophy imports.

In claim seven, plaintiffs allege that the Service failed to comply with the APA when it
rescinded prior enhancement and non-detriment findings in the March Memo without public notice
and comment. Second Am. Compl. §{ 202-07. This claim greatly broadened the scope of this

action because plaintiffs challenge not only the rescission of the 2017 elephant and lion findings,

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but also the withdrawal of all the findings mentioned in the March Memo.* See id.; Pls.” Opp.
Mot. Dismiss 41. These included both positive enhancement findings, paving the way for the
importation of sport-hunted trophies, and negative enhancement findings, prohibiting the
importation of such trophies. Pls.” Opp. Mot. Dismiss 41; see also Intervenor-Defendants’ Mot.
Dismiss Ex. 1. For the reasons stated below, plaintiffs lack standing to maintain a challenge to the
rescission of any positive enhancement findings. And although plaintiffs sufficiently alleged facts
to challenge some of the negative findings prohibiting trophy imports, plaintiffs nonetheless fail
to state a claim upon which relief may be granted. So, claim seven will be DISMISSED.

i. Plaintiffs lack standing to challenge the withdrawal of positive
enhancement findings.

In order to bring a suit, litigants must establish Article III standing. Cir. for Law & Educ.

v. Dep’t of Educ., 396 F.3d 1152, 1156-57 (D.C. Cir. 2005). Standing contains three elements:

(1) the plaintiff must have suffered injury in fact, an actual or imminent invasion of
a legally protected, concrete and particularized interest; (2) there must be a causal
connection between the alleged injury and the defendant's conduct at issue; and (3)
it must be “likely,” not “speculative,” that the court can redress the injury.

id. at 1157 (quoting Lujan, 504 U.S. at 560-61). “[S]tanding is not dispensed in gross.” Lewis v.
Casey, 518 U.S. 343, 358 n.6 (1996). Plaintiffs must separately demonstrate standing with respect
to each claim. Daimler-Chrysler Corp. v. Cuno, 54 U.S. 332, 352 (2006).

“Whether a party’s claim requires dismissal because of an inability to establish

standing depends on the stage of the litigation.” Food & Water Watch, Inc. v. Vilsack, 808 F.3d

 

? In addition to the 2017 Zimbabwe lion and elephant findings, the March Memo withdrew the following enhancement
findings: 1997, 2014, and 2015 findings for elephants in Zimbabwe; 1997, 2014, and 2015 findings for elephants in
Tanzania; a 1995 finding for elephants in South Africa; a 1997 finding for bontebok taken in South Africa; 2016 and
2017 findings for lions in South Africa; a 1997 finding for elephants in Botswana; 1995 finding for elephants in
Namibia; a 2012 finding for elephants in Zambia: a 2017 finding for lions in Zambia; and the 2017 finding for
elephants in Zambia, Intervenor-Defendants’ Mot. Dismiss Ex. 1, ECF No. 42-1. Additionally, the Service withdrew
the following CITES non-detriment findings: 2014, 2015, and 2017 finding for elephants in Tanzania; and 2017
finding for elephants in Zambia. /d

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905, 913 (D.C. Cir. 2015). At the pleadings stage, plaintiffs “must state a plausible claim that
[they have] suffered an injury in fact fairly traceable to the actions of the defendant that is likely
to be redressed by a favorable decision on the merits.” Humane Soc'y of the U.S. vy. Vilsack, 797
F.3d 4, 8 (D.C. Cir. 2015). “[G]eneral factual allegations of injury resulting from the defendant’s
conduct may suffice, for on a motion to dismiss [the Court] presum[es] that general allegations
embrace those specific facts that are necessary to support the claim.” Bennett v. Spear, 520 U.S.
154, 167-68 (1997). However, the Court does “not assume the truth of legal conclusions, nor
doles it] accept inferences that are unsupported by the facts set out in the complaint.” Arpaio v.
Obama, 797 F.3d 11, 19 (D.C. Cir. 2015).

The plaintiffs in this case include “conservation organizations and a local safari guide with
vested interests in the protection of elephants and lions in Africa.” Second Am. Compl. 4/4. The
organizations claim associational standing, Pls.” Opp. Mot. Dismiss 36 n.15, and the safari guide—
Mr. Michler---claims standing in his own right. Second Am. Compl. 4 11. “An association ‘has
standing to sue under Article II of the Constitution of the United States only if (1) at least one of
its members would have standing to sue in his own right; (2) the interest it seeks to protect is
germane to its purpose; and (3) neither the claim asserted nor the relief requested requires the
member to participate in the lawsuit.’” Am. Trucking Ass’ns v. Fed. Motor Carrier Safety Admin.,
724 F.3d 243, 247 (D.C. Cir. 2013) (quoting Rainbow/Push Coal. v. FCC, 3390 F.3d 539, 542 (D.C.
Cir. 2003)). The Court “need only find one party with standing.” Ams. for Safe Access v. DEA,
706 F.3d 438, 443 (D.C. Cir. 2013).

Here, neither Mr. Michler nor any of the various associations’ members suffer an injury in
fact from the March Memo’s rescission of positive enhancement findings. The plaintiffs’ entire

case is premised on the proposition that allowing the importation of sport-hunted trophies from

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certain countries into the United States increases both the legal and illegal killing of African
wildlife, harming the plaintiffs’ aesthetic, professional, scientific, recreational, and organizational
interests. See Second Am. Compl. ff 8-14, 65--71; Decl. Brendan Cummings {ff 22-26, ECF No.
45-1; Decl. Audrey Delsink § 19-20, ECF No. 45-2; Decl. Ian Michler J 9-11, ECF No. 45-3;
Decl. Brett Hart! 49 14, 16, ECF No. 45-4; Decl. Prashant K. Kehtan J 10, ECF No. 45-5.

As previously described, elephant and lion trophies may not be imported to the United
States absent a finding that the killing of the animals enhances the survival of the species. Supra
Part LA. A positive enhancement finding, then, leads to increased killing of African wildlife under
plaintiffs” own theory. This point is only buttressed by plaintiffs’ desire to set aside the 2017
positive elephant and lion findings in claims one through six.

Here, the March Memo withdraws a number of positive enhancement findings, explicitly
stating that they “are no longer effective for making individual permit determinations for imports
of those sport-hunted ESA-listed species.” Intervenor-Defendants’ Mot. Dismiss Ex. 1. In other
words, a permit applicant may no longer rely on the withdrawn findings in order to gain permission
to import a trophy to the United States.

Where, as here, “plaintiffs allege injury resulting from violation of a procedural right
afforded to them by statute and designed to protect their threatened concrete interest, the courts
relax—while not wholly eliminating—the issues of imminence and redressability, but not the
issues of injury in fact or causation.” Cir. for Law & Educ., 396 F.3d at 1157. But here, plaintiffs
put forth no plausible theory for how the withdrawal of these positive enhancement findings
without public notice and comment equates to an injury in fact either for Mr. Michler or a member

of one of the organizations.

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Plaintiffs argue that the March Memo “signals to the trophy hunting community that [the
Service] intends to follow the allegedly withdrawn decisions by continuing to rely on the
information therein,” and “[t]hus, for all intents and purposes the ‘withdrawn’ decisions are still
operational.” Pls.’ Opp. Mot. Dismiss 38. The Court finds the harm from the March Memo’s
“signaling” entirely speculative. After all, he March Memo also rescinds negative findings
prohibiting trophy imports and yet says that the Service “intends to use the information cited in
these findings and contained in its files as appropriate.” Intervenor-Defendants’ Mot. Dismiss Ex.
1. What does this signal? Ironically, plaintiffs argue that the March Memo’s “withdrawal of [the
negative] findings raises concerns that [the Service] could reverse course at any time causing injury
to Plaintiffs’ interests.” Pls.” Opp. Mot. Dismiss 41. Is the same not true of the withdrawal of the
positive enhancement findings?

Plaintiffs do not adequately resolve these inconsistencies. The Court is left with the most
obvious conclusion: if, as plaintiffs describe, positive findings “authoriz[e] trophy imports and
promote] the killing of threatened and endangered species,” id. at 38, then plaintiffs are not
harmed by the rescission of such findings. Because there is no injury in fact, plaintiffs lack
standing to challenge the withdrawal of the positive enhancement findings.’

ii, Plaintiffs claims challenging the rescission of negative findings prohibiting
trophy imports must also be dismissed.

In addition to rescinding positive enhancement findings, the March Memo withdrew
“negative findings prohibiting trophy imports, including the 2014 and 2015 Zimbabwe and

Tanzania elephant enhancement findings, the 2014, 2015, and 2017 Tanzania elephant non-

 

3 Plaintiffs are somewhat unclear in their pleadings as to which standing arguments they put forth for each claim. See
Pls.” Opp. Mot. Dismiss 41, ECF No. 45 (“Plaintiffs are harmed by the failure to conduct notice and comment on the
rescission of both categories of findings and adoption of the March 1 memo {and denial of any future public process)
in three ways.”). From the Court’s reading, the remainder of plaintiffs’ standing arguments relate to claim eight.

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detriment findings, and the 2016 and 2017 South Africa captive lion enhancement findings.” Pls.’
Opp. Mot. Dismiss 41. Plaintiffs likewise claim injury from the failure to conduct proper notice-
and-comment rulemaking procedures prior to the rescission of the negative findings. Jd.

The Court begins with standing. As mentioned, an association has standing to sue only if
(1) at least one of its members would have standing to sue in his own right; (2) the interest it seeks
to protect is germane to its purpose; and (3) neither the claim asserted nor the relief requested
requires the member to participate in the lawsuit.” Am. Trucking Ass’ns., 724 F.3d at 247 (internal
citations omitted). The Court easily finds the latter two requirements met for the Center.’ The
Center’s mission is “to secure a future for all species, great and small, hovering on the brink of
extinction.” Decl. Brendan Cummings 43. It stands to reason that participating in the rulemaking
process when the Service withdraws findings aimed at protecting wildlife is germane to the
Center’s mission. See id. 26. Furthermore, neither claim seven nor the relief requested therein
requires the Center’s members to participate in the lawsuit.

Therefore, the standing inquiry hinges on whether at least one of the Center’s members
would have standing to sue in his own right. As an initial matter, claim seven alleges a procedural
injury—withdrawal of the negative findings without notice and comment. Second Am. Compl. {/f
202-207. As discussed, for procedural injuries, courts “relax the redressability and imminence
requirements of standing . . . [but] the injury in fact requirement is a hard floor of Article IH
jurisdiction that cannot be altered by statute.” Cr. for Biological Diversity v. EPA, 861 F.3d 174,
182-83 (D.C. Cir. 2017) (citations and quotations omitted). And “[I]ikewise, the Supreme Court
‘has never freed a plaintiff alleging a procedural violation from showing a causal connection

between the government action that supposedly required the disregarded procedure and some

 

+ The Court focuses on the Center because, as discussed below, one of its members plausibly alleges an injury in fact.
The Court finds no demonstrable difference between the causation and redressability analyses for each plaintiff.

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reasonably increased risk of injury to its particularized interest.” /d, at 183 (quoting Fla. Audubon
Soc. v. Bentsen, 94 F.3d 658, 664 (D.C. Cir. 1996)).

Plaintiffs’ claims to an injury from the withdrawn negative findings fare much better than
their claimed injury from the withdrawn positive findings. These negative findings prevented
hunters from importing sport-hunted trophies during the relevant time period. The Center’s
member Brett Harti has plans to travel to Tanzania and Zimbabwe in 2019, Decl. Brett Hartl { 11,
and then plans to visit South Africa in 2021, id. 9 13. On his coming trips, Mr. Hartl hopes to see
elephants and lions. 7d. §f 11, 12,17. “Ofcourse, the desire to use or observe an animal species,
even for purely esthetic purposes, is undeniably a cognizable interest for purpose of standing.”
Lujan, 504 U.S. at 562-63. Because Mr. Hartl has plausibly alleged plans to go to Tanzania,
Zimbabwe, and South Africa, he would be harmed if withdrawing these negative findings without
notice and comment causes the elephant and lion population to diminish.

That brings the Court to causation. To establish causation in the context of procedural
injury, a plaintiff must show “two causal lmks: ‘one connecting the omitted [procedural step] to
some substantive government decision that may have been wrongly decided because of the lack of
[that procedural requirement] and one connecting that substantive decision to the plaintiffs
particularized injury.’” Ctr. for Biological Diversity, 861 F.3d at 184 (quoting Fla. Audubon Soc.,
94 F.3d at 668). Regarding the first link, the failure to conduct notice-and-comment rulemaking
is plainly “connected” to the withdrawal of the negative findings since the Service made the
decision without engaging the public.

But the Court has more difficulty connecting the substantive decisions—/.e. withdrawing
the negative findings—to plaintiffs’ particularized injury. For the second link, plaintiffs “must

still demonstrate a causal connection between the agency action and the alleged injury.” City of

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Dania Beach, Fla. v. FAA, 485 F.3d 1181, 1186 (D.C. Cir. 2017). Plaintiffs plausibly allege that
U.S. hunters may be unwilling to hunt elephants and lions if they are unable to import their
trophies. See Pls.” Opp. Mot. Dismiss 47 (citing declarations from Safari Club Int'l v. Jewell,
1:14-cv-670-RCL). But that does not end the inquiry.

The majority of the withdrawn negative findings are neither cited in the pleadings nor
included in the record. But one that is—the 2014 Zimbabwe elephant finding—reveals a causation
problem with some of these withdrawn findings. 79 Fed. Reg. 44459-01. The 2014 finding only
applies to “elephant trophies taken in Zimbabwe on or after April 4, 2014, until December 31,
2014.” Jd. In other words, this finding—and perhaps other withdrawn negative findings—applies
only to elephants killed during a specific time period. By 2017 when plaintiffs filed their
complaint, the number of elephants killed in Zimbabwe between April 4, 2014 and December 31,
2014 was fixed. And the Service’s decision has no impact on elephant’s killed from 2015 on.
Therefore, the substantive decision to withdraw the 2014 Zimbabwe elephant findings could have
no impact on whether Mr. Harl observes any elephants on his future trips. And the same would
be true for Mr. Michler and all organizational plaintiffs* members. The plaintiffs’ injuries are not
fairly traceable to any withdrawn negative findings that are time-limited. And thus the plaintiffs
have no standing to challenge the withdrawal of any such findings.

The 2015 Zimbabwe elephant findings, on the other hand, suspended the importation of
“elephant trophies taken in Zimbabwe through the 2015 hunting season and future hunting
seasons.” 80 Fed. Reg. 42524-03, Under plaintiffs’ theory, the withdrawal of these findings
without notice and comment conceivably creates a “demonstrable risk” to plaintiffs’ interests in
observing, enjoying, conserving, and photographing elephants in Zimbabwe at the time the case

was filed and into the future. See Cir. for Biological Diversity, 861 F.3d at 185.

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Furthermore, the plaintiffs meet the “relaxed redressability requirement,” as to the 2015
Zimbabwe elephant findings and others with indefinite effect. See WildEarth Guardians v. Jewell,
738 F.3d 298, 306 (D.C. Cir. 2013). “A procedural-rights plaintiff need not show that “court-
ordered compliance with the procedure would alter the final agency decision.” Crr. for Biological
Diversity, 861 F.3d at 186 (internal citation and quotation omitted). Instead, the Center needs to
show that had the Service engaged in notice-and-comment rulemaking it cow/d have reached a
different result. /d. At this stage of the proceedings, plaintiffs’ pleadings clear this hurdle.

But although plaintiffs have plausibly alleged standing to challenge the withdrawal of
negative findings with continuing effects, these claims still must be dismissed under Rule 12(b)(6).

Plaintiffs claim centers around the Service’s failure to conduct notice-and-comment
rulemaking when withdrawing the country-wide findings. Before the decision in Safar? Club I,
the Service treated country-wide enhancement and non-detriment findings as adjudications not
subject to the rulemaking requirements of 5 U.S.C. § 553. 878 F.3d at 331. But in that case, the
Circuit held that because the 2014 and 2015 elephant enhancement findings at issue were generally
. applicable to all potential imports of sport-hunted elephant trophies from Zimbabwe and because
they were meant to only bind hunters in fu/ure permitting adjudications and enhancement actions,
they were final rules under the APA and required notice and comment. See id. at 331-34
(discussing the differences between a rule and adjudication and finding that the former applied to
the 2014 and 2015 findings), This led the Service in the March Memo to withdraw the procedurally
defective 2014 and 2015 findings, along with all other country-wide findings not subjected to
notice and comment, including the negative findings presently before the Court. Second Am.
Compl. € 168; Intervenor-Defendants’ Mot. Dismiss Ex. 1. But because the Circuit held that these

types of country-wide findings constituted legislative rules, plaintiffs argue that the repeal of those

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findings was itself a rule requiring notice and comment. Second Am. Compl. {| 205-206; see
also Pls. Opp. Mot. Dismiss 13. In other words, “[t]he fact that the Service issued at least sixteen
country-wide enhancement findings in the past twenty-five years without complying with the APA
does not justify rescission of those rules by repeating the same illegal conduct—simply put, two
wrongs do not make a right.” Pls. Opp. Mot. Dismiss 13.

The Court considered this same argument upon remand from the Circuit in Safar? Club
Int ‘lv. Zinke. See Order, No. 14-cv-670-RCL, ECF No. 157. There, many of the organizational
plaintiffs in this case were intervenor-defendants and argued that the Court “should retain
jurisdiction” even after March Memo “because the Service’s attempt to repeal the findings was
itself procedurally deficient under the APA.” Jd. at 4.

Then, as now, the Court is unpersuaded. /d. In Safari Club if, the Circuit found the
country-wide findings were procedurally deficient precisely because the Service did not conduct
notice-and-comment rulemaking in the first place. While the Service intended to proceed by
adjudication, the Circuit made clear that country-wide findings of that type were more akin to
legislative rulemaking. The plaintiffs have not alleged any differences between the 2014 and 2015
Zimbabwe elephant findings and the rest of the negative findings under the Court’s consideration
making them more properly considered adjudications. The Service withdrew the procedurally
deficient findings in order to comply with that ruling. There is no need to go through rulemaking
to undo an approach plainly held improper by the Circuit.

‘The cases plaintiffs cite in support of its position are inapposite. They stand for the
proposition that an agency may not exclude itself from notice and comment requirements simply
by declaring that the rule is “defective” on its own accord. See Consumer Energy Council v.

FERC, 673 F.2d 425, 447 n.79 (D.C. Cir. 1982) (“The . . . argument that notice and comment

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requirements do not apply to ‘defectively promulgated regulations’ is untenable because it would
permit an agency to circumvent the requirements of § 553 merely by confessing that the regulations
were defective in some respect and asserting that modification or repeal without notice and
comment was necessary to correct the situation.”); Nat'l Treasury Emp. Union v. Cornelius, 617
F.Supp. 365, 371 (D.D.C. 1985) (It would significantly erode the usefulness of the APA if
agencies were permitted unilaterally to repeal regulations dealing with the substantive rights of
individuals under federal statutes, by declaring that the earlier regulations were just a mistake.”).
The idea beng that when an agency declares a rule defective, sua sponte, “the question whether
the regulations are indeed defective is one worthy of notice and comment.” Consumer Energy
Council, 673 F.2d at 447 n.79. True enough, but if we applied that line of cases to situations where
there had been an intervening change in law, it would force agencies to enforce plainly wrong—
and maybe even unconstitutional—regulations until either a Court struck them down or the agency
went through the full notice and comment process. That cannot be.
Here, the D.C. Circuit (not the agency itself) found the rules to be procedurally defective—
so there is no question whether the rules are indeed defective. Cf Nat'l Treasury Emp. Union, 617
F.Supp. at 371 (noting “[n]o intervening events have occurred which would cast doubt on the
validity of the regulations, such as... a relevant court decision.”). The plaintiffs point to no case
where a court has required an agency to go through notice-and-comment in order to withdraw a
rule that was found to be deficient because it itself did not go through notice-and-comment. Claim
seven is DISMISSED.
C. Plaintiffs lack standing to challenge the March Memo’s announcement that

the Service would henceforth issue enhancement and non-detriment findings
on a case-by-case basis as part of the permitting process.

In addition to withdrawing country-wide enhancement and non-detriment findings, the

March Memo also announced that the Service will no longer make enhancement and non-detriment

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findings on a country-wide basis. Intervenor-Defendants’ Mot. Dismiss Ex. 1. Instead, the Service
will make those determinations on a case-by-case basis when deciding whether or not to grant a
permit. /d.; Second Am. Compl. § 209. In claim eight, plaintiffs argue that this is a substantive
policy change that cannot be enacted without soliciting public notice and comment. /d. 210. In
response, defendants argue that plaintiffs lack the requisite standing to challenge the alleged
“policy.” Federal Defs.” Mot. Dismiss 20-24, ECF No. 44. The Court agrees.

The standing analysis for claim eight differs significantly from plaintiffs’ other claims.
Because this aspect of the March Memo only changes the manner in which enhancement and non-
detriment findings, plaintiffs cannot plausibly allege that switching to a case-by-case system,
alone, causes more elephants and lions to be killed. Therefore, neither the organizations (through
their members) nor Mr. Michler, the safari guide, may rely on aesthetic or recreational interests as
a basis for standing. Instead, plaintiffs’ best argument is that the organizations themselves are
harmed by the change in policy and have standing to sue. Unfortunately for plaintiffs, this
argument fails as well.°

To establish standing in its own right, an organization must, “like an individual plaintiff, []
show ‘actual or threatened injury in fact that is fairly traceable to the illegal action and likely to be
redressed by a favorable court decision.’” Equal Right Ctr. v. Post Props., Ine., 633 F.3d 1136,
1138 (D.C. Cir. 2011) (quoting Spann v. Colonial Vill., Inc., 899 F.2d 24, 27 (D.C. Cir. 1990).
Like claim seven, claim eight alleges a procedural harm; so redressability and imminence will be

relaxed while injury in fact and causation will not.

 

> Although the federal defendants mention informational standing in their motion to dismiss, see Federal Defs.’ Mot.
Dismiss 23, plaintiffs put forth no argument for informational standing in their opposition and fail to identify any
statute entitling them to any information deprived under the Service’s new policy. See Friends of Animals v. Jewell,
$28 F.3d 989, 992 (D.C. Cir. 2016) (stating that in order to claim informational, a plaintiff must allege: “(1) it has
been deprived of information that, on its interpretation, a statute requires the government or a third party to disclose
to it, and (2) it suffers, by being denied access to that information, the type of harm Congress sought to prevent by
requiring disclosure.”).

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To demonstrate injury in fact, “[a]n organization must allege more than a frustration of its
purpose because frustration of an organization’s objectives ‘Is the type of abstract concern that
does not impart standing.” Food & Water Watch, 808 F.3d at 919 (quoting Nat’! Taxpayers
Union, Inc. v. United Staes, 68 F.3d 1428, 1433 (D.C. Cir. 1995). Rather, an organization wishing
to establish standing must have “suffered a concrete and demonstrable injury to [its] activities.”
People for the Ethical Treatment of Animals v. USDA, 797 F.3d 1087, 1093 (D.C. Cir. 2015)
(internal quotations omitted), This determination is made through a two-part inquiry—the Court
asks “first, whether the agency’s action or omission to act injured the [organization’s] interest and,
second, whether the organization used its resources to counteract that harm.” /d. at 1094,

To satisfy these elements, the challenged conduct must “perceptibly impair[] the
organization’s ability to provide services.” Food & Water Watch, 808 F.3d at 919. It must inhibit
the organization’s daily operations, PETA, 797 F.3d at 1094, or “ma[k]e the organization’s
activities more difficult.” Nat’! Treasury Emps. Union, 101 F.3d at 1430.

Of the organizations, only the Center outlines how the change to case-by-case
determinations affects its operations. The Center’s “primary mission is to protect threatened and
endangered species and their habitats in the United States and abroad.” Cummings Decl. § 4. “As
part ofits mission, the Center provides oversight of governmental programs, polices, and activities
that affect wildlife, endangered species, and natural areas.” /d. 6. Because the new case-by-case
approach precludes the Center from “receiv[ing] any notice or the opportunity for comment” when
enhancement or non-detriment is being considered, the Center claims its “only recourse is to
request all such information under FOJA.” fd. 419. The more frequent need for FOIA requests
will “inevitably require the dedication of staff time and resources above and beyond what [the

Center] currently deploy[s] to ensure they are regularly submitted by [the Center] and timely and
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adequately responded to by the agency.” /d. 20. Additionally, because of the March Memo, the
Center claims it “has been and will continued to be forced to spend additional resources attempting
to meaningfully engage in FWS’s decision-making processes.” /d. 22. For example, it “will
have to dedicate more of the limited time and resources of [its] small international program to
providing, for example, new scientific studies on trophy hunting, the population status of elephants
or lions in different countries or regions, governance in specific countries, and other relevant
information to FWS.” /d. Plaintiffs argue that this “consequent drain on [] resources, which could
be dedicated to other conservation efforts, supports their organizational standing here.” Pls.” Opp.
Mot. Dismiss 51.

But two flaws doom plaintiffs’ argument. First, on its face, the alleged “policy” in the
March Memo has an indeterminate effect on the Center’s primary mission to protect threatened
and endangered species and their habitats in the United States and abroad. The change to case-by-
case adjudication does not by itself suggest that more sport-hunted trophies will be imported to the
United States. And the D.C. Circuit has cautioned that “[i]f the challenged conduct affects an
organization’s activities, but is neutral with respect to its substantive mission, [the Circuit has]
found it ‘entirely speculative’ whether the challenged practice will actually impair the
organization’s activities.” Am. Soc’y for Prevention of Cruelty to Animals vy. Feld Entm’t, 659
F.3d 13, 25 (quoting Nat] Treasury Emps. Union, 659 F.3d at 25).

Second, and more pointedly, D.C. Circuit “precedent makes clear that an organization’s
use of resources for litigation, investigation in anticipation of litigation, or advocacy is not
sufficient to give rise to an Article If] injury.” Food & Water Watch, 808 F.3d at 919. “This is
true whether the advocacy takes place through litigation or administrative proceedings.” Turlock

Irrigation Dist. v. FERC, 786 F.3d 18, 24 (D.C. Cir. 2015). Because of the shift to case-by-case
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evaluation, the Center argues that it will have to devote more resources to FOIA actions and
providing more updated information to the Service in order to challenge sport-hunted trophy
importation. But these increased expenditures relate directly and exclusively to pure issue-
advocacy. See Ctr. for Law & Educ., 396 F.3d at 1162 (rejecting a claim to organizational standing
when “the only ‘service’ impaired is pure issue-advocacy”). In other words, plaintiffs’ asserted
injury “is essentially an argument that [the Center] cannot allocate issue advocacy expenses in the
way it would prefer, which is insufficient to establish standing.” Ams. for Safe Access, 706 F.3d
at 458.

In sum, plaintiffs lack standing to challenge claim eight. Accordingly, it must be
DISMISSED for want of jurisdiction.
IV. CONCLUSION

The Court lacks jurisdiction to hear the majority of plaintiffs claims. Claims one through
six are moot. Additionally, plaintiffs lack standing to challenge the Service’s withdrawal of
positive enhancement findings and its decision to change from country-wide to case-by-case
enhancement and non-detriment determinations. And while plaintiffs have plausibly alleged
standing to challenge the withdrawal of certain negative enhancement and non-detriment
determinations, plaintiffs fail to state a claim upon which relief may be granted. As such, the case
will be DISMISSED. A separate order will issue.

Cote, alee

Date: 4 e4 (ya ROYCE C. LAMBERTH
United States District Judge

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